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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

 CELLULAR COMMUNICATIONS
 EQUIPMENT LLC,

                Plaintiff,
                                                  Civil Action No. 6:17-cv-00590-KNM
 v.                                               JURY TRIAL DEMANDED

 AT&T MOBILITY, LLC, ET AL.,

                Defendants.

                                   ORDER OF DISMISSAL
       Before the Court is the Joint Stipulation of Dismissal of AT&T Mobility LLC, Cellco

Partnership d/b/a Verizon Wireless, Sprint Solutions, Inc., Sprint Spectrum L.P., Boost Mobile,

LLC, T-Mobile USA, Inc., and T-Mobile US, Inc. (collectively, the “Carrier Defendants”)

pertaining to Civil Action No. 6:16-cv-590. Having considered the Joint Stipulation of

Dismissal, and finding that good cause exists for granting it, the Court is of the opinion that the

Joint Stipulation of Dismissal should be, in all respects, GRANTED.

       IT IS THEREFORE ORDERED that CCE’s claims against the Carrier Defendants are

dismissed WITH PREJUDICE solely to the extent those claims for relief asserted therein involve

the manufacture, use, offer for sale, sale, and/or importation of products manufactured by or for

HTC Corporation and HTC America, Inc. (together, “HTC”) that are the subject of the

settlement agreement between CCE and HTC.

          So ORDERED and SIGNED this 10th day of July, 2018.
